Case 2:04-cr-20191-.]PI\/| Document 57 Filed 07/06/05 Page 1 of 2 Page|D 84

IN THE UNITED STATES DISTRICT COURT ||,m BY__ 2_____1)£,
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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UNITED sTATEs 0F AMERICA, CLB=%U.S. D!STHCTOOUHT
s W OF TN, NBPHS
Plaintiff,
1\’
v. Criminal No. 04-20191-M1
*
TOMMY FULLER, *
Defendant. *

 

ORDER OF DISMISSAL OF COUNT 2

 

Before the court is the Government’s Motion to Dismiss Count Two of the indictment in this

matter. For good cause shown, the motion is granted.

IT IS SO ORDERED this the §§ day of July, 2005 .

MLQQ

UN TED STATES DISTRICT JUDGE

 

 

Date: 07/06/2005

Approved by ém/h’){ M

,FJ~Sw\pBenQ/Hau, AUSA

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UNITED sTATE DISTRIC COURT - WTER D'S'TRCT OFTENNESSEE

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US DISTRICT COURT

